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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


ALEXANDER GRINIS, MICHAEL
GORDON, and ANGEL SOLIZ, on behalf of
themselves and those similarly situated,
                  Petitioners,
      v.                                    No. 20-cv-10738-GAO

STEPHEN SPAULDING, Warden of Federal        Leave to file excess pages granted on
Medical Center Devens, and MICHAEL          April 24, 2020 [D.E. 37]
CARVAJAL, Director of the Federal Bureau
of Prisons, in their official capacities,
                    Respondents.




         PETITIONERS’ REPLY TO RESPONDENTS’ OMNIBUS RESPONSE




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                                        INTRODUCTION

         Petitioners and other Class members remain in imminent danger of infection, illness, and

death from COVID-19 despite the steps Respondents claim to have taken. That is because too

many prisoners remain at FMC Devens. There is no question that a significant reduction of the

population would greatly reduce the dangers to the prisoners who leave FMC Devens, the

prisoners and staff who remain, and the surrounding community. Yet Respondents have made

the deliberate and unconstitutional choice to keep almost all prisoners where they are—in a

large, congregate setting that is extremely vulnerable to a rapid outbreak because social

distancing, a “cornerstone” of prevention, is impossible. Although Respondents use words like

“required criteria” and “ineligible” to describe their decision to bar so many people from being

transferred to home confinement, they cannot defeat a claim of deliberate indifference by arguing

they have tied their own hands with bureaucratic red tape. That is not a defense; it’s a confession.

         Since Petitioners filed this action on April 15, confirmed COVID-19 infections among

BOP prisoners and staff have grown to 1,118 across 45 BOP facilities,1 including the first

confirmed infection at FMC Devens. Twenty-seven prisoners have died. During that same

period, confirmed prisoner cases at FMC Forth Worth, an administrative security medical center

like FMC Devens that holds many elderly and medically vulnerable men, exploded from 4 to 232

(three have already died).2 Eight of the top ten COVID-19 clusters in the United States are now




1
  See https://www.bop.gov/cornavirus (last visited Apr. 26, 2020). As noted in the Petition, this
total is artificially suppressed due to inadequate testing. See also Declaration of Prof. Lauren
Brinkley-Rubinstein, (Apr. 26, 2020) (“Brinkley-Rubinstein Decl.”) ¶¶ 9-11, 13, attached as
Exhibit A. In addition, BOP apparently removes those who have “recovered” from its cumulative
count of “open” cases.
2
    See Exhibit B (screenshots of FMC Devens weekly census data).

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in prisons and jails.3 Nursing homes—congregate facilities that share many features with FMC

Devens—account for over 1,300 COVID-19 deaths in Massachusetts, more than half of the state

total.4

          Meanwhile, notwithstanding Respondents’ assurances that they are expeditiously

discharging their obligation to maximize transfers out of
                                                                    Date       Camp         FMC
the facility, the population of FMC Devens has remained           April 9       108          914
                                                                  April 16      108          906
essentially static, near capacity in normal times.5 That is       April 23      106          905

deliberate indifference.

          In the face of rampant illness and numerous prisoner deaths in its facilities, Respondents

have decided to carry out a policy that denies home confinement to prisoners – regardless of their

vulnerability to COVID-19 – unless they meet numerous criteria.6 Respondents have already

used this policy as a basis to keep numerous prisoners inside FMC Devens, including Petitioner

Gordon, who Respondents determined did “not qualify for priority consideration” because he has

served 36.6% rather than 50% of his sentence.7




3
    See https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html.
4
 Miriam Wasser & Bob Oakes, “COVID-19 Hits Elder Care Facilities in Mass. the Hardest,
with More than 1,300 Now Dead,” WBUR (Apr. 24, 2020), available at
https://www.wbur.org/commonhealth/2020/04/24/seniors-coronavirus-nursing-homes-testing.
5
    See Ex. C (weekly data compiled from https://www.bop.gov/about/statistics/).
6
  See Respondents’ Response to Petition for Writ of Habeas Corpus and Opposition to
Petitioners’ Motion for Immediate Bail and Injunctive and Declaratory Relief [D.E. 32]
(“Resp.”) at 18-20; see also Declaration of Amber Bourke [D.E. 32-2], ¶ 21 (April 22, 2020)
(“Bourke Decl.”); Declaration of Amber Bourke [D.E. 36-1], ¶¶ 18-19 (April 24, 2020) (“Bourke
Supp. Decl.”).
7
    See Bourke Supp. Decl. ¶ 28.

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          Even the eight prisoners reportedly approved for transfer to home confinement remain at

FMC Devens, “quarantined” for 14 days8 in punitive isolation that serves no public health

purpose.9 Although Respondents highlight a laundry list of “appropriate measures to protect”

prisoners,10 they concede that strict physical distancing, a necessary “cornerstone” of COVID-19

prevention, remains impossible at FMC Devens given the current population levels.11

          “Courts cannot blithely defer to the supposed expertise of prison officials when it comes

to the constitutional rights of inmates.” Wolff v. McDonnell, 418 U.S. 539, 599 (1974).

Respondents’ arbitrary and convoluted compassionate release and home confinement screening

policies are not an excuse but a deliberate and deadly bottleneck that risks the lives of prisoners,

staff, and civilians alike. FMC Devens today remains filled with elderly men in their 70s and

80s, men with debilitating medical conditions, and men within months of completing their

sentences, many of whom could be transferred to home confinement immediately with no danger




8
    See Resp. at 19.
9
    See Declaration of Professor Seth Prins, ¶¶ 5-18 (“Prins Decl.”), attached as Exhibit D.
10
     See Resp. at 4-13, 30-34.
11
   Moreover, undersigned counsel have been unable to discuss the Respondents’ filings with
Petitioners. Counsel twice requested, on April 23 and 24, that Respondents facilitate legal phone
calls with the named Petitioners in advance of today’s hearing, but no such calls were
accommodated. Counsel understand that, sometime last week, Gordon was transferred out of
FMC Devens for emergency medical care related to his liver transplant and then returned to the
facility on April 24. Counsel last heard from Grinis by Corrlinks e-mail on April 19, when he
reported that prison staff commented, “no one is being released,” removed a typewriter, and
limited the amount of paper available to prisoners, with the effect of restricting their access to the
courts. Then, on April 22, Respondents alleged that “Grinis is refusing to enter the required
quarantine before his pending release to home confinement . . . result[ing] in a disciplinary action
and the loss of his pending pre-release placement.” Bourke Decl. ¶ 23, n.1. It is darkly ironic
that, having apparently voiced genuine terror at the prospect of two weeks of solitary isolation in
“quarantine,” Grinis was sent to isolation anyway — as punishment — and now may remain at
FMC Devens indefinitely, notwithstanding Respondents’ earlier determination that he is “at high
risk for COVID-19.” Id.

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to public safety. Contrary to Respondents assertions, this section 2241 habeas petition is a proper

legal vehicle to bring the Petitioners’ claims challenging unconstitutional confinement. Given the

extraordinary circumstances of the COVID-19 pandemic, Petitioners readily satisfy the criteria

for emergency injunctive release and class certification.

       A substantial number of prisoners must be promptly evacuated from FMC Devens to save

lives and mitigate the public health crisis that will otherwise decimate the Devens community.

This Court should order Respondents to do so forthwith, as federal courts have done at other

facilities. See, e.g., Wilson v. Williams, No. 4:20-cv-00794, 2020 U.S. Dist. LEXIS 70674, at *25

(N.D. Ohio Apr. 22, 2020) (ordering transfers out of FCI Elkton “through any means”); Roman

v. Wolf, No. 20-cv-0768-TJH (C.D. Cal. Apr. 23, 2020), D.E. 55 at 2 (ordering respondents to

“immediately reduce the detainee population” at ICE detention facility “to such a level that

would allow the remaining detainees to maintain a social distance of 6 feet from each other at all

times and at all places”), administrative stay granted (9th Cir. Apr. 25, 2020) (No. 20-55436).

Alternatively, this Court should exercise its inherent habeas authority to release a sufficient

number of class members on bail, as another court in this District has done for dozens of ICE

detainees in Bristol County. See Savino v. Hodgson, No. 20-cv-10644-WGY, 202 U.S. Dist.

LEXIS 61775, at *28 (D. Mass. Apr. 8, 2020) (“[T]he Court follows the light of reason and the

expert advice of the CDC in aiming to reduce the population in the detention facilities so that all

those who remain (including staff) may be better protected”).

                                          ARGUMENT

I.     This Court has authority to order the relief that Petitioners request.

       A.      Section 2241 authorizes Petitioners’ COVID-19-related claims.

       Respondents contend that “habeas relief is unavailable” because Petitioners challenge the

“conditions of their confinement.” Resp. at 21-22. Respondents are wrong for two reasons:

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(1) Petitioners attack “the fact or duration” of their unconstitutional confinement, for which the

only appropriate class-wide relief is the immediate, substantial reduction of the population,

whether by compassionate release, home confinement, furlough, bail, or other means; and

(2) there is no legal bar against habeas claims that challenge “the conditions” of confinement.

               1.      Petitioners challenge “the fact or duration” of their confinement at
                       FMC Devens, where social distancing is impossible.

       By characterizing the Petition as an ordinary “conditions of confinement” claim akin to a

complaint about inadequate “medical care,” Respondents misapprehend the issues. “Whereas

many medical needs claims might appropriately be addressed through § 1983 litigation, claims

concerning COVID-19 are not so easily classified.” Wilson, 2020 U.S. Dist. LEXIS 70674, at

*13; see Money v. Pritzker, Nos. 20-cv-2093 & 2094, 2020 U.S. Dist. LEXIS 63599, at *25-26

(N.D. Ill. Apr. 10, 2020) (recognizing “the unique context in which litigation over COVID-19

arises . . . because the sudden threat to mortality from the spread of virus in a congregate setting

may affect the fact or duration of confinement”).12 In this case, Petitioners are not making

traditional, individualized “quality of care” demands for orthopedic shoes, see Warner v.

Spaulding, No. 18-cv-10850-DLC, 2018 U.S. Dist. LEXIS 70032 (D. Mass. Sept. 24, 2018), at

*1-2; cataract surgery, see Crooker v. Grondolsky, No. 12-cv-12016, 2013 U.S. Dist. LEXIS

2071 (D. Mass. Jan. 4, 2013), at *1; Hepatitis C therapy, see Kane v. Winn, 319 F. Supp. 2d 162,

173-74 (D. Mass. 1998), or similar medical devices or services.



12
   In Money, the court relied on a declaration from Professor Judith Resnik, a habeas scholar who
has opined that, given the “unprecedented circumstances, . . . ‘COVID-19 claims ought to be
cognizable under both provisions.’” 2020 U.S. Dist. LEXIS. 63599, at *25-26. Thus, the court
ultimately reviewed the plaintiffs’ claims under both § 1983 and § 2254; it dismissed the habeas
claims because the plaintiffs, who were state prisoners, failed to exhaust available state remedies.
See id. at *17, 46. That exhaustion issue is not present here. Prof. Resnik’s declaration is
separately attached hereto as Exhibit D.

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        Instead, Petitioners and the Class whom they seek to represent allege that their collective

confinement at current population levels exposes them to deadly infection with a highly

contagious virus in violation of the Eighth Amendment. They “ultimately seek to challenge the

fact or duration of confinement,” not simply “the dangerous conditions within the prison created

by the virus.” Wilson, 2020 U.S. Dist. LEXIS 70674, at *13. And for that reason, remedying the

constitutional violations alleged in this case could not be accomplished simply by providing

Petitioners and the putative Class members with more Virucide or with access alcohol-based

sanitizers. The requested remedy, on a class basis, is necessarily the release or transfer of a

sufficient number of class members from unconstitutional custody to allow for effective social

distancing. See id. (recognizing that by prisoners at FCI Elkton brought habeas claims alleging

that “continued imprisonment . . . is unconstitutional given the COVID-19 outbreak”).13

       Thus, the Petition properly pursues habeas relief. See, e.g., Francis v. Maloney, 798 F.3d

33, 36 (1st Cir. 2015) (“[A]n individual may invoke § 2241 . . . to challenge placement (or lack

thereof) in a community confinement center, or to contest one’s imprisonment in a specific

facility.”); Gonzalez-Fuentes v. Molina, 607 F.3d 864, 873 (1st Cir. 2010) (explaining that when

prisoner seeks “quantum change in the level of custody. . . then habeas corpus is his remedy”);

Brennan v. Cunningham, 813 F.2d 1, 4-5 (1st Cir. 1987) (permitting habeas challenge to transfer

from halfway house to state prison); Putnam v. Winn, 441 F. Supp. 2d 253, 256 (D. Mass. 2006)

(finding habeas jurisdiction to consider challenge to rule prohibiting transfer to halfway house);

Fox v. Lappin, 441 F. Supp. 2d 203, 206 (D. Mass. 2005) (“[W]here transfer or release are at

issue, a habeas petition is warranted.”); Monahan v. Winn, 276 F. Supp. 2d 196, 204 (D. Mass.



13
  Many other courts have accepted habeas petitions as proper vehicles to address the COVID-19
pandemic in custodial settings. See Ex. F (compilation of cases).

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2003) (“It is well-established that challenges to the ‘manner, location, or conditions of a

sentence’s execution’ are proper subjects of a habeas corpus action under § 2241.”).

               2.      Petitioners may also challenge “the conditions” of their confinement.

       Although Petitioners have appropriately brought this case as a habeas action because they

challenge the fact or duration of their confinement, they may also use habeas to challenge the

unconstitutional conditions at FMC Devens. The First Circuit has expressly rejected the

Respondents’ argument that conditions habeas is unavailable to challenge conditions. See

Brennan, 813 F.2d at 4 (“We reject this contention.”).

       In Brennan, the petitioner, serving a life sentence for murder, was transferred from the

New Hampshire state prison to a halfway house to participate in a work-release program. After

that assignment was terminated and the petitioner was sent back to state prison, he filed a § 2254

petition. The district court granted habeas relief. On appeal, the warden argued – like the

Respondents here – the action could not be “maintain[ed] . . . under the federal habeas corpus

statute,” because “the claim for reinstatement” to the halfway house “challenge[d] the conditions

of confinement and not the fact or length of confinement.” Id. The warden further asserted – like

Respondents – that “the proper vehicle for such a challenge” was § 1983. Id.

       The First Circuit rejected that jurisdictional contention: “We do not agree that Prieser

would mandate that the reinstatement claim be brought as a § 1983 action even if we were to

accept the [warden]’s characterization of the claim as a challenge to the conditions of

confinement.” Id. (emphasis added).

           In Prieser, the Court explicitly left open the possibility that a challenge to
           prison conditions, cognizable under § 1983, might also be brought as a
           habeas corpus claim.

Id. (citing Dickerson v. Walsh, 750 F.2d 150, 153-54 & n.5 (1st Cir. 1984) (“Federal prisoners

have been permitted to contest the conditions of confinement by means of habeas proceedings
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even though the conditions were not the cause of detention and even though release was not the

appropriate remedy.”) (collecting cases)); see also United States v. DeLeon, 444 F.3d 41, 59 (1st

Cir. 2006) (“If the conditions of incarceration raise Eighth Amendment concerns, habeas corpus

is available.”); Miller v. United States, 564 F.2d 103, 105 (1st Cir. 1997) (“Section 2241

provides a remedy for a federal prisoner who contests the conditions of confinement.”).

       To understand how Respondents have misread the case law, it helps to revisit Prieser, on

which Respondents mistakenly rely. Resp. at 21. Prieser involved a § 1983 action by state

prisoners in New York who claimed that, as a result of disciplinary infractions, they had been

wrongfully denied “good time” credit. 411 U.S. at 476. The procedural question whether “habeas

corpus is the exclusive remedy in these circumstances” was, as the Supreme Court noted, of

“considerable practical importance.” Id. at 477. Proceeding under § 1983, rather than § 2254,

allowed the plaintiffs to avoid the burdensome exhaustion requirements for habeas petitions; put

another way, if the state prisoners had filed individual habeas petitions (or a single class

petition), they could have not sought intervention by the federal court until they had first sought

and been denied relief by the state court. See id. at 477, 488 (noting plaintiffs brought § 1983

claims “so as to avoid the necessity of first seeking relief in a state forum”).

       In resolving that procedural issue, the Supreme Court characterized claims that “attack[]

the very duration of . . . physical confinement itself” as “within the core of habeas corpus.” Id. at

487-88; see id. at 498 (holding “state prisoner’s challenge to the fact or duration of his

confinement . . . is just as close to the core of habeas as an attack on the prisoner’s conviction”).

Because the plaintiffs brought “core” claims, their “sole federal remedy” was § 2254, not § 1983.

But in describing the “core” of habeas, the Supreme Court did not define its border. See id. at

499 (stating “we need not in this case explore the appropriate limits of habeas corpus as an



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alternative remedy to a property action under § 1983”). It merely held “a § 1983 action is a

proper remedy for a state prisoner who is making a constitutional challenge to the conditions of

his prison life, but not the fact or length of his custody.” Id. And the Court offered an important

clarification: “That is not to say that habeas corpus may not also be available to challenge such

prison conditions.” Id. (emphasis added).

       “Prieser . . . in no way decided that habeas corpus would not lie to challenge conditions

of confinement; it decided only that a state prisoner who was seeking to challenge the length of

confinement could not utilize 42 U.S.C. § 1983 and its jurisdictional counterpart, 28 U.S.C.

§ 1343(3), to avoid the exhaustion requirements of § 2254(b) and (c).” Kahane v. Carlson, 527

F.2d 492, 498 (2d Cir. 1975) (Friendly, J., concurring). “The Court’s central concern, in Prieser

and its progeny, has been with how far the general remedy provided by § 1983 may go before it

intrudes into the more specific realm of habeas, not the other way around.” Dockens v. Chase,

393 F.3d 1024, 1028 (9th Cir. 2004). Thus, by insisting that “conditions” claims may only be

brought in § 1983 actions, but not § 2241 petitions, Respondents attempt to constrain habeas

corpus in a way that the Supreme Court and First Circuit have never endorsed.

       Following Prieser, other federal appeals courts have agreed with the First Circuit that,

although a § 1983 action can only challenge the “conditions” of confinement, but not the “fact or

duration” of confinement, a habeas action can challenge either or both. See, e.g., Dockens, 393

F.2d at 1027 (explaining “both the majority and dissent in Prieser suggested that there are some

circumstances concerning prison conditions in which both habeas corpus and § 1983 suits may

lie”) (emphasis in original); In re U.S. Parole Comm’n, 793 F.2d 338, 344-45 (D.C. Cir. 1986)

(holding “it [is not] necessary that litigation over the conditions of prison life proceed in habeas

corpus” but can also establish § 1983 claims); Boudin v. Thomas, 732 F.2d 1107, 1111 (2d Cir.



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1984) (holding “habeas might sometimes be available to challenge the conditions of

confinement” and, thus, that petitioner’s complaint seeking transfer from administrative

segregation to general population could be brought as habeas petition) (emphasis in original);

Roba v. United States, 604 F.2d 215, 219 (2d Cir. 1979) (holding “challenge to [petitioner’s]

transfer while seriously ill would be a challenge to the conditions of confinement, for which

habeas corpus relief under § 2241 would be available”).14

       Closing the door completely to habeas claims concerning prison conditions that render

confinement unlawful would not only run counter to Supreme Court and First Circuit precedent,

it would also raise serious constitutional concerns about the Suspension Clause. See U.S. Const.,

Art. I, § 9, cl. 2; Boumediene v. Bush, 553 U.S. 723, 746 (2008) (opting “not to foreclose the

possibility that the protections of the Suspension Clause have expanded along with post-1789

developments that define the present scope of the writ”); INS v. St. Cyr, 533 U.S. 289, 305 &




14
   The overlap in remedies for unconstitutional prison conditions may explain why later cases,
including decisions that the Respondents cite, Resp. 21-22, have consistently used qualified or
hortatory language when distinguishing between habeas and § 1983 or Bivens claims. For
example, in Crooker, this Court stated: “Claims for inadequate medical treatment are most
properly characterized as conditions of confinement claims, which are generally not cognizable
under § 2241; that most challenges to the constitutional adequacy of medical care should proceed
as a civil rights action pursuant to Bivens.” 2013 U.S. Dist. LEXIS 2071, at *5-6 (emphasis
added); see also Sperling v. Grondolsky, No. 17-cr-12075, 2018 U.S. Dist. LEXIS 66936, at *3
(D. Mass. Apr. 20, 2018) (“Typically, a Bivens action is the appropriate means for a federal
prisoner to challenge the adequacy of his medical treatment.”) (emphasis added); Sanchez v.
Sabol, 539 F. Supp. 2d 455, 459 n.1 (D. Mass. 2008) (“Notwithstanding the possible overlap of
remedies, challenges to medical treatment remain most squarely in the realm of civil rights
litigation under Bivens rather than habeas corpus.”) (emphasis added); Kane v. Winn, 319 F.
Supp. 2d. 162, 213-15 (D. Mass. 2004) (“For most conditions of confinement claims, . . . and
particularly for those involving inadequate medical treatment, courts usually hold that habeas
relief is not available.”) (emphasis added). While it may be “generally,” “typically,” or “usually”
true, it is not “necessarily” true. No Supreme Court or First Circuit case lays down such a rule.
See id. Indeed, in “both state and federal prisoner cases, there are many indications that habeas
will in fact lie for certain conditions of confinement claims.” Kane, 319 F. Supp. 2d at 214.

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n.13 (2001) (recognizing “the desirability of avoiding” have to “resolv[e] . . . a serious and

difficult constitutional issue” about whether AEDPA and IIRIRA violate the Suspension Clause);

cf. Devitri v. Cronen, 290 F. Supp. 3d 86, 93 (D. Mass. 2017) (finding jurisdiction under § 2241

and § 1331 in immigration proceedings, because otherwise, “the jurisdictional bar in 8 U.S.C.

§ 1252(g) . . . would violate the Suspension Clause as applied”).

       Finally, the COVID-19 pandemic constitutes “extreme circumstances” that justify

exercising habeas jurisdiction over Petitioners’ claims, even under the narrowest interpretation of

habeas. Crooker, 2013 U.S. Dist. LEXIS 2071, at *9 (recognizing “extreme circumstances” may

inform the “interpretation of the scope of § 2241”); see Kane, 319 F. Supp. 2d at 215 (holding

habeas jurisdiction exists for “extreme cases” involving medical-treatment claims “where

transfer or release might be a necessary remedy”); see also Crooker v. Grondolsky, No. 12-cv-

12024-RGS, 2012 U.S. Dist. LEXIS 156760, at *4 n.2 (D. Mass. Nov. 1, 2012) (finding no

habeas jurisdiction over “medical treatment” claim because the case presented “[n]o extreme

circumstances”). This Court should not hesitate to act to prevent a public health catastrophe for

the prisoners and staff at FMC Devens as well as the surrounding community.

       B.      The PLRA Does Not Bar Petitioners’ Habeas Claims.

       Respondents are incorrect that the Prison Litigation Reform Act (“PLRA”), 18 U.S.C. §

3626, “precludes the relief that Petitioners seek.” Resp. at 22-26. As defined in the PLRA, “the

term ‘civil action with respect to prison conditions’ . . . does not include habeas corpus

proceedings challenging the fact or duration of confinement in prison.” 18 U.S.C. § 3626(g)(2).

Because Petitioners’ COVID-19 claims are “properly before the Court as a habeas action,” the

PLRA “does not apply.” Wilson, 2020 U.S. Dist. LEXIS 70674, at *24. Indeed, while “habeas

proceedings are essentially civil actions, the Supreme Court has long recognized that the label is

ill-fitting and that habeas is in fact a unique creature in the law.” Martin v. Bissonette, 118 F.3d
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871, 874 (1st Cir. 1997) (internal citations omitted). “All the circuits that have addressed this

question have agreed that the PLRA does not apply to habeas petitions.” Id. (adopting consensus;

emphasis added); see also Monahan, 276 F. Supp. 2d at 204 (explaining “PLRA does not apply

to section 2241 proceedings”).15

       Regardless, the PLRA’s limitations on “release orders,” § 3626(a)(3), on which

Respondents rely, Resp. at 23-25, would not preclude the relief Petitioners request: ordering the

BOP to exercise its existing authority to recommend compassionate release (which only

underlying sentencing courts could grant), transfer inmates to home confinement (a form of BOP

custody), or use other authority to reduce the facility’s population (e.g., furloughs).

Alternatively, use of the Court’s inherent habeas bail authority would constitute legal

“enlargement” of class members’ custody rather than the termination their sentences or

“release.” Wilson, 2020 U.S. Dist. LEXIS 70674, at *25 (explaining order to depopulate FCI

Elkton “is not ordering the release of prisoners” because “inmates will remain in BOP custody,

but the conditions of their confinement will be enlarged”).

II.    Failure to reduce substantially the FMC Devens population constitutes deliberate
       indifference to the known, deadly risk of COVID-19.

       “A prison official’s ‘deliberate indifference’ to a substantial risk of serious harm to an

inmate violates the Eighth Amendment.” Farmer v. Brennan, 511 U.S. 825, 828 (1994).



15
   The COVID-19 cases on which Respondents rely, Resp. at 24, are inapposite. See Money v.
Pritzker, Nos. 20-cv-2093 & 2094, 2020 U.S. Dist. LEXIS 63599 (N. D. Ill. Apr. 10, 2020),
primarily asserted claims against state prison officials under § 1983 and the Americans with
Disabilities Act. See id. at *7-8. Likewise, Plata v. Newsom, No. 01-cv-01351-JST, 2020 U.S.
Dist. LEXIS 70271 (N.D. Cal. Apr. 17, 2020), involved decades-old civil rights (not habeas)
litigation against state officials arising from chronic overcrowding and inadequate medical care.
On the merits, unlike Respondents, the Plata defendants moved 1,300 prisoners “out of
dormitory housing ‘to available space in other prison[s] to create more space and allow greater
physical distancing in the dorms.’” Id. at *14-15.

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Respondents’ submissions describe changes the BOP has made within FMC Devens in response

to the deadly risk of COVID-19. Resp. 3-13; 26-34; Declaration of Dr. Megan Shaw [D.E. 32-1]

(April 22, 2020), ¶¶ 7-65 (“Shaw Decl.”). But even assuming these measures are actually being

implemented consistently,16 they still reflect a deliberate and therefore unconstitutional, choice

not to take the more substantial steps that would be required to actually address the risk that

Petitioners and the putative Class members face from COVID-19. That is because Respondents

neither dispute that “[i]ndividuals must be able to practice physical social distancing for hygiene

to have a meaningful impact” on the risk of infection, see Declaration of Dr. Joe Goldenson

[D.E. 4-1] (April 14, 2020) (“Goldenson Decl.”) ¶ 16, nor do they suggest that any of their

changes enable such distancing within each housing unit of 150 people. Because strict social

distancing, including within housing units, is the only effective means to prevent the spread of

this fatal disease, this failure constitutes unconstitutional deliberate indifference.

         A.     Protective measures at FMC Devens are inadequate.

         “At this moment, a deadly virus is spreading amongst [FMC Devens] population and

staff.” Wilson, 2020 U.S. Dist. LEXIS 70674, at *20. As of April 26, there was at least one

confirmed positive COVID-19 prisoner at FMC Devens.17 Because FMC Devens is testing only

symptomatic prisoners—not those who are pre-symptomatic or asymptomatic—this is likely




16
  Due to the obstacles in communication with prisoners at FMC Devens noted above,
undersigned counsel are unable at this time to present additional sworn statements from class
members. However, communications that counsel have received indicate that many of the
measures described by Dr. Shaw are being implemented inconsistently, if at all.


17
     https://www.bop.gov/coronavirus/.

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only “the tip of the iceberg.” See Brinkley-Rubinstein Decl. ¶ 13.18 Exposure to a fatal disease

that has caused international shuttering of non-essential businesses to avoid infection constitutes

an “unsafe, life-threatening condition” that endangers “reasonable safety.” Helling v. McKinney,

509 U.S. 25, 33, 26 (1993); cf. Wilson, 2020 U.S. Dist. LEXIS 70674, at *19 (holding risk of

exposure to COVID-19 “obviously” satisfies the objective component of the Eight

Amendment).19

       Critically, the measures detailed in Respondents’ submissions – such as increased

education, distribution of PPE, and the provision of hygiene supplies – do not meaningfully

alleviate this substantial risk of harm at FMC Devens because these measures “are critically

deficient with respect to social distancing.” Supplemental Declaration of Dr. Joe Goldenson

(April 26, 2020) (“Goldenson Supp. Decl.) ¶ 3 (Exhibit G); see also id. ¶ 2 (noting these changes

have “not meaningfully addressed the fundamental component of social distancing”). While it is

true that while COVID-19 “puts everyone at some degree of risk of getting sick,” Resp. at 28,

not everyone is forced to live within less than six feet of more than 100 individuals. The changes

at FMC Devens have not altered that dangerous daily reality for its prisoners. Indeed, while Dr.

Shaw describes efforts to provide “separation between different units, she does not describe any

social distancing within each unit, which she herself describes as composed of approximately




18
  See, e.g., id. ¶ 12 (noting that when North Carolina’s Neuse Correctional Institution tested all
700 prisoners within its facility, it was discovered that 65% of them had COVID-19, and 95% of
those were infected were not experiencing symptoms at the time of the test).
19
  See also Jolly v. Coughlin, 76 F.3d 468, 477 (2d Cir. 1996) (“[C]orrectional officials have an
affirmative obligation to protect [forcibly confined] inmates from infectious disease”); Powers v.
Snyder, 484 F.2d 929, 931 (7th Cir. 2007) (“[K]knowingly exposing a prisoner to hepatitis or
other serious diseases could [] amount to cruel and unusual punishment in violation of the federal
Constitution.”);

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150 prisoners.” Goldenson Supp. Decl. ¶ 4. And within units, Respondents force Petitioners and

other prisoners to engage in numerous activities, from lining up for meals to obtaining

medications to using phones and computers, that involve clustering close together and being

exposed to contaminated surfaces.

       Respondents do not dispute that dozens of prisoners still “eat, sleep, recreate, shower, and

use the bathroom under conditions where it is effectively impossible to follow the CDC’s

recommendation to maintain six feet of distance between themselves.” Id. ¶ 5. The CDC

recommends this social distancing not as an aspirational ideal, cf. Resp. at 30, but as “a

cornerstone of reducing transmission of respiratory diseases such as COVID-19” in carceral

settings.20 Consequently, “‘[s]heltering in place’ under these conditions cannot effectively

mitigate the risk of COVID-19 transmission, particularly within the vulnerable population

housed at FMC Devens.” Goldenson Supp. Decl. ¶ 5.

       Respondents’ attempt to compare imprisonment at FMC Devens with life among

“roommates or family members” is absurd. Resp. at 29. Many members of the community live

with other people. But few, if any, live with 150 of them, in close quarters over which they have

no meaningful control. What is more, FMC Devens is not a closed environment. Goldenson

Supp. Decl. ¶ 8. Medical staff and correctional officers routinely enter and exit the facility. Due

to pre-symptomatic and asymptomatic viral shedding, FMC Devens’ practice of taking

temperatures and screening for symptoms before entry (even assuming the practice is

implemented correctly and consistently) does not remove the “daily risk that these officers will



20
   Centers for Disease Control and Prevention, Interim Guidance on Management of Coronavirus
Disease 2019 (COVID-19) in Correctional and Detention Facilities,
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html.

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unknowingly bring the disease into the facility with them, where it could spread like wildfire

among the vulnerable population that is unable to practice effective social distancing.” Id. ¶¶ 8-9,

11; see also Brinkley-Rubinstein Decl. ¶ 15. As a result, even accounting for the measures

described in Respondents’ submissions, FMC Devens remains “at high risk of a COVID-19

outbreak at its current population levels.” Goldenson Supp. Decl. ¶ 13.

       B.      Failure to reduce the population constitutes deliberate indifference to the
               risk of infection with a deadly disease.

       With respect to an infectious disease like COVID-19, deliberate indifference is satisfied

when prison officials “ignore a condition of confinement that is sure or very likely to cause

serious illness and needless suffering the next week or month or year,” even when “the

complaining inmate shows no serious current symptoms.” Helling v. McKinney, 509 U.S. 25, 33-

34 (1993). Here, that life-threatening condition is the complete inability to practice social

distancing at FMC Devens where such a practice is necessary to mitigate the risk of COVID-19

infection. Respondents’ knowledge is apparent “from the very fact that the risk [is] obvious,”

while their actions and inactions reveal their unconstitutional “disregard.” Farmer, 511 U.S. at

837. Specifically, Respondents’ failure to make social distancing possible for the people in their

custody is a deliberate choice, as they have declined to exercise powers at their disposal that

actually could achieve this goal.

       The BOP has several tools to reduce its incarcerated population, most directly through its

authority to transfer prisoners to home confinement under 18 U.S.C. § 3624(c)(2) [hereinafter

Section 3624]. Home confinement under Section 3624 requires approval of neither an Article III

judge nor BOP Central, compare with 18 U.S.C. 4205(g) and 18 U.S.C § 3582(c)(1)(A), and can

be accomplished directly by the Warden and the Regional Residential Reentry Manager. Cf.

Bourke Suppl. Decl. ¶ 26. Described by Respondents’ own expert as BOP’s “general authority”


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to place prisoners in home confinement, Bourke Decl.” ¶ 18, the Bureau’s power under Section

3624 is typically constrained only by the statutory requirement that an individual must have 6

months or 10% of their sentence remaining. See 18 U.S.C. § 3624(c)(2). Yet even that limitation

has now been removed. The “Coronavirus Aid, Relief, and Economic Security Act” (CARES)

Act, Pub. L. 116-136, authorizes the Bureau to remove this eligibility requirement “if the

Attorney General finds that emergency conditions will materially affect the functioning of the

Bureau,” which Attorney General Barr did on April 3, 2020.21 Eliminating this final statutory

limitation on the BOP’s authority, the Attorney General instructed the BOP “to immediately

review all inmates who have COVID-19 risk factors” including those who were not previously

eligible for transfer due to time restrictions.22

           But the BOP forthrightly admits that it has chosen, during this pandemic, to implement a

policy that excludes vast numbers of Class members as candidates for home confinement. While

the Attorney General listed “discretionary factors” to be considered in assessing prisoners for

release,23 the Bureau is carrying out a policy that denies home confinement to prisoners who do

not meet even one of ten “required criteria,” such as “hav[ing] no incident reports in the past 12

months (regardless of severity level)” and “ha[ving] served 50% of their sentence.” Resp. 18-19

(emphasis added). For example, the Bureau refused to transfer Petitioner Gordon to home

confinement – and thus continues to subject him to the risk of catching and dying from COVID-




21
  Attorney General William Barr, Memorandum for Director of Bureau of Prisons [D.E. 4-6]
(Apr. 3, 2020).
22
     Id.
23
     Id.

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19 in prison – solely because he has served 36.6% rather than 50% of his sentence. Resp. 19-20;

Bourke Suppl. Decl. ¶ 28.

        Because of its deliberate choices, the Bureau has utterly failed to release people in any

meaningful numbers. See Brinkley-Rubinstein Decl. ¶ 20. The 1,027 prisoners who have been

transferred to home confinement since Attorney General Barr’s April 3 directive encouraging the

Bureau to use this authority represents just half of one percent of the people in BOP custody on

April 1. See Brinkley-Rubinstein Decl. ¶ 20. The numbers at FMC-Devens are similarly paltry:

out of 118 prisoners reviewed for home confinement, 91 (or 77%) were excluded as a matter of

Bureau policy; eight (or 6.7%) were approved; and just two (or 1.7%) have transfer dates for this

upcoming week. Bourke Suppl. Decl. ¶ 26. Even if the Bureau was unaware of the impact of its

actions three weeks ago, it now must know that its self-imposed process is entirely incapable of

achieving the necessary population reductions in time. Its continuation of the status quo in the

face of such abject failure constitutes deliberate indifference. Cf. Wilson, 2020 U.S. Dist. LEXIS

70674, at *21 (finding deliberate indifference when defendant “has altogether failed to separate

its inmates at least six feet apart”).

        Finally, Respondents compound their deliberate indifference by requiring the prisoners

approved for transfers to first quarantine in solitary confinement for two weeks prior to transfer.

See Bourke Decl. ¶ 22. This policy is unnecessary, as Attorney General Barr himself

acknowledged the facility’s discretion to allow prisoners to quarantine at home.24 It is

“ineffective as a health measure” to “constrain the spread of COVID-19 in a carceral setting.

Prins Decl.” ¶¶ 5, 10; see also id. at ¶ 5 (noting “I am unaware of any studies supporting solitary



24
  Attorney General William Barr, Memorandum for Director of Bureau of Prisons [D.E. 4-6]
(Apr. 3, 2020).

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confinement as a disease containment strategy in jails or prisons”). And it is inhumane. See id. ¶

10. “Based on its severe psychological and physiological impacts”—which can manifest in as

little as 10 days—“solitary confinement is frequently described as akin to torture.” Id. ¶¶ 12, 13.

After running the gauntlet of BOP’s approval process, a prisoner “should not have to choose

between continuing to face a heightened risk of COVID-19 infection within a prison, or

experiencing the trauma of two-weeks solitary confinement before they can be released into the

community.” Id. ¶ 18. The imposition of this “illogical and self-defeating policy” which “appears

to be inconsistent with the directive of the Attorney General, ungrounded in science, and a

danger to both [prisoners] and the public health of the community,” United States v. Scparta, No.

18-cr-578-AJN, 2020 U.S. Dis. LEXIS 68935, at *5-10(S.D.N.Y. Apr. 19, 2020), further violates

the Eighth Amendment.

III.   Petitioners are entitled to a TRO and/or preliminary injunction.

       A.      Petitioners are likely to succeed on the merits.

       Petitioners have established a strong likelihood of success on the merits of their Eighth

Amendment claims, as set forth in Section II above.

       B.      Petitioners will be irreparably harmed if this Court does not act.

       Respondents argue that the mere “possibility” of harm does not warrant relief. Resp. at

40. But in “this moment of worldwide peril from a highly contagious pathogen, the government

cannot credibly argue that [prisoners] face not ‘substantial risk’ of harm (if not ‘certainly

impending’) from being confined in close quarters in defiance of the sound medical advice that

all other segments of society now scrupulously observe.” Savino, 2020 U.S. Dist. LEXIS 61775

at *13. Indeed, the “risk of contracting COVID-19 and the resulting complications, including the

possibility of death, is the prototypical irreparable harm.” Banks, 2020 U.S. Dist. LEXIS 68766,



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at *37; see also Wilson, 2020 U.S. Dist. LEXIS 70674, at *21 (finding irreparable harm based on

risk of COVID-19).

       Respondents argue that Petitioners cannot show that, if released, “they will be safer from

the risk of infection or have access to adequate care if infected.” Resp. at 41. But the baseline

risk of infection in society at large, and deficiencies in the U.S. health care system, cannot justify

subjecting Petitioners to extraordinarily high risk in a dense carceral setting where social

distancing is impossible. “From both a practical and epidemiological standpoint, sheltering at

home with a handful of people in a space without daily staff shift changes is qualitatively

different from living in a congregant environment with 150 other people and staff that circulate

between the facility and the community every single day.” Goldenson Supp. Decl. ¶12; see also

id. ¶ 13 (noting that even accounting for “all of the measures articulate in Dr. Shaw’s declaration

. . . FMC Devens is at high risk of a COVID-19 outbreak at its current population levels”). Nor

can the theoretical availability of individual applications for compassionate release or home

confinement, Resp. at 41, remove the dangers to the Class, particularly where Respondents

themselves, control important gateways to those mechanisms that they are failing to use. As the

static tally of prisoners in the Medical Center and Camp attests, Respondents are not working to

reduce the danger of COVID-19 at FMC Devens by reducing the population, notwithstanding

Attorney General Barr’s mandate to do so.

       In this case, “[g]iven the gravity of [Petitioners’] asserted injury, as well as the

permanence of death … [Petitioners] have satisfied the requirement of facing irreparable harm

unless injunctive relief is granted.” Banks, 2020 U.S. Dist. LEXIS 68766, at *39.

       C.      The balance of the equities and the public interest favor relief.

       Respondents argue that “[t]he public would be placed at risk by release of criminally

convicted inmates, without a release plan or conditions of release.” Resp. at 42. They ignore that
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Respondents, themselves could continue to exercise control over how to decrease population

density — whom to release and under what conditions. See Wilson, 2020 U.S. Dist. LEXIS

70674, at *22-24 (“Petitioners do not ask this Court to throw open the gates to the prison and

leave the inmates that are released to fend for themselves. Instead, Petitioners seek ‘release’ that

consists of moving vulnerable inmates to various other types of confinement so that they are no

longer at risk of dying from the virus”); cf. Savino, 2020 U.S. Dist. LEXIS 61775, at *23 (“The

question is not so much whether any particular Detainee should be released …. Nor does it

matter how the density of Detainees is [r]educed….”).

        The public safety risk of recidivism, Resp. at 42, is grossly overstated. Prisoners

transferred to home confinement remain in BOP custody, subject to conditions and supervision.

Every federal prisoner ultimately released from a custodial sentence also has a term of

supervised release to follow, monitored by a local federal Probation Office. Moreover, the

dangers posed by releasing elderly prisoners in their 70s and 80s, prisoners with debilitating

medical conditions, and those who have no history of violence are negligible. And for prisoners

set to finish their sentences in the next 18 months, whatever their offenses of conviction or prior

histories, acceleration of that process could have little marginal effect on public safety.

       Although some prisoners may lack a place to go, many others, such as Petitioners Grinis

and Gordon, have families who could pick them up with an hour’s notice (or with whom

transportation arrangements could be made in a matter of days) and who could provide safe

accommodations in private homes where prisoners could shelter-in-place and, if necessary, self-

isolate. The inability of the Respondents to effectuate prompt community placements for those

who need it is not excuse for continuing to perpetuate unconstitutional confinement.




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        Moreover, “granting injunctive relief which lessens the risk that Plaintiffs will contract

COVID-19 is in the public interest because it supports public health.” Banks, 2020 U.S. Dist.

LEXIS 68766, at *39-40; see also Wilson, 2020 U.S. Dist. LEXIS 70674, at *22-24 (“there is a

continued risk of harm to others, including prison staff, if inmates remain in the prison and the

virus continues to thrive among the dense inmate population”). FMC Devens has outpatient care

capacity only. See Shaw Decl. ¶ 2 (it provides “ambulatory care” and does “minor office-based

procedures”). It has only 2 exam rooms and 6 physicians for nearly 1200 inmates, id. ¶¶ 2-3, the

majority of whom will likely soon become infected. FMC Devens cannot actually treat COVID

infections. All ill prisoners, therefore, will need to be transferred to local hospitals and will

compete for limited healthcare resources in the surrounding community.

IV.     The Court should certify the proposed Class and Subclasses.

        Respondents’ arguments against class certification, Resp. at 43-46, ignore that one court

in this district and at least three other federal courts have already either certified, provisionally

certified, or granted broad temporary relief applicable to a class of detained persons based on

deliberate indifference claims concerning the threat of COVID-19. See Savino, 2020 U.S. Dist.

LEXIS 61775, at *16-26 (certifying class of all ICE detainees at Bristol County jail, after

provisionally certifying subclasses); Wilson, 2020 U.S. Dist. LEXIS 70674, at *15-19 & n.48

(conditionally certifying sub-class of inmates at FCI Elkton who are 65 years or older or have

medical conditions, for purposes of preliminary injunction); Banks, 2020 U.S. Dist. LEXIS

68766, *13 (partially granting TRO to petitioners in D.C. correctional facilities without ruling on

class certification but noting that named petitioners “have pled an injury which was caused by

Defendants and is redressable by the relief requested” because “steps taken to reduce the risk of

infection among any inmates… would also reduce the named Plaintiffs’ risk”); Roman, No. 20-

cv-00768-PVC (C. D. Cal. Apr. 23, 2020), D.E. 52 (provisionally certifying class of all detainees
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at ICE detention facility). Respondents do not counter the analysis in any of these cases, much

less attempt to justify the creation of an intra-district split of authority.

        Respondents argue that because the proposed class-members have different

vulnerabilities to COVID-19 and different characteristics that may bear on release, “[t]here

simply is no commonality and typicality.” Resp. at 44-45. But any such differences are

immaterial for purposes of class certification. See Savino, 2020 U.S. Dist. LEXIS 61775, at *23

(“The case law supports a finding of commonality for class claims against dangerous detention

conditions, even when some detainees are more at risk than others.”); Roman, supra, D.E. 52 at 4

(explaining that differences among petitioners are “immaterial” and shared legal issues are

sufficient even if remedies may vary); Wilson, 2020 U.S. Dist. LEXIS 70674, at *17 (noting that

class-wide relief would still permit “individualized determination as to where each subclass

member should be placed, because “Petitioners do not seek to open the prison gates to allow its

inmates to run free,” and the remedy “might look different for different inmates”).

        As the First Circuit has explained, “what really ‘matters to class certification . . . is not

the raising of common ‘questions’ as much as ‘the capacity of a class-wide proceeding to

generate common answers apt to drive the resolution of the litigation.” Parent/Professional

Advocacy League v. City of Springfield, 934 F.3d 13, 28 (1st Cir. 2019) (quoting Wal-Mart v.

Dukes, 564 U.S. 338, 350 (2011)) (emphasis and ellipsis in original). Accordingly, class

certification is warranted when the unconstitutional harm is created by a common set of policies

or practices, including prison polices and practice. See id. (citing Parsons v. Ryan, 754 F.3d 657,

679 (9th Cir. 2014) (prison case)). The unconstitutionality here – Respondents’ failure to ensure

social distancing despite the known dangers of COVID-19 – “can be [resolved] in a single

stroke.” Parsons, 754 F.3d at 679. Decreasing population density to permit physical distancing



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will resolve the unconstitutional harm for the entire class. To the extent the existing named

petitioners could be somehow insufficiently “typical” of the class (an argument the Respondents

have not explained or developed), additional petitioners could be joined or substituted – indeed,

many Class members have already filed pro se requests to do just that.

        Respondents also question adequacy of representation, arguing that Petitioners “do not

have an identical interest[ ] and in fact are ineligible for release” and therefore their interests

conflict with those of the class. Resp. at 45. Not so. The core claim of this case is that reducing

density to permit social distancing mitigates the risk of infection and death for all class-

members, those who are released and those who remain. See Savino, 2020 U.S. Dist. LEXIS

61775, at *25 (ruling class of all detainees at detention facility would be entitled to a “uniform

remedy” – a reduction in population – even though some would be released or transferred from

the facility and some would not).




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                                         CONCLUSION

       For the foregoing reasons, as well as those set forth in Petitioner’s opening papers, the

Court should deny Respondents’ request to dismiss the Petition, order emergency relief, and

certify the proposed class.


Respectfully submitted,

ALEXANDER GRINIS, MICHAEL GORDON, ANGEL SOLIZ,
and others similarly situated,

By their attorneys,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on April 27, 2020.

                                                      /s/ William Fick




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